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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 STEPHEN MIDDLEBROOKS                             CIVIL ACTION

                      v.                          NO. 17-412

 TEVA PHARMACEUTICALS USA,
 INC.


                                           ORDER
       AND NOW, this 26th day of February 2019, upon considering Plaintiffs Motion for

attorney's fees (ECF Doc. No. 153), Defendant's Opposition (ECF Doc. No. 157), Plaintiff's

Reply (ECF Doc. No. 158), and for reasons in the accompanying Memorandum, it is ORDERED

Plaintiffs Motion (ECF Doc. No. 153) is GRANTED in part and DENIED in part and, as

reflected in the accompanying Judgment entered today, we award Plaintiff reasonable attorney's

fees of $403,947.27, including $10,000 reimbursement to the Plaintiff for his out of pocket fees

incurred before March 31, 2016, and reasonable costs of $51,445.73.




                                                  ~
                                                  KEARNE~
